      Case 3:20-cv-08570-JD Document 440-3 Filed 02/03/23 Page 1 of 9




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 8                             UNITED STATES DISTRICT COURT
 9
                           NORTHERN DISTRICT OF CALIFORNIA
10
                                  SAN FRANCISCO DIVISION
11
     MAXIMILLIAN KLEIN, et al.,                    Case No. 20-cv-08570-JD
12
                                     Plaintiffs,
13
                                                    DECLARATION OF REBECCA A.
14         v.                                       PETERSON IN SUPPORT OF
                                                    APPLICATION FOR APPOINTMENT
15 META PLATFORMS, INC.,                            AS INTERIM LEAD CONSUMER
                                                    CLASS COUNSEL BY SHANA E.
16                                  Defendant.      SCARLETT OF HAGENS BERMAN
17                                                  SOBOL SHAPIRO LLP, OR IN THE
                                                    ALTERNATIVE, SHANA E.
18                                                  SCARLETT AND REBECCA A.
                                                    PETERSON OF LOCKRIDGE
19                                                  GRINDAL NAUEN P.L.L.P.
20

21 This document relates to:

22      All Consumer Actions
23

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      Case 3:20-cv-08570-JD Document 440-3 Filed 02/03/23 Page 2 of 9




 1           I, Rebecca A. Peterson, hereby declare and state as follows:

 2           1.     I am an attorney licensed to practice in the State of Minnesota and have been

 3 admitted to practice in several courts across the country. For almost a decade I have been an

 4 attorney with the firm of Lockridge Grindal Nauen P.L.L.P. (“LGN”), and am currently a partner

 5 with LGN. I am counsel of record for Plaintiff Rachel Banks-Kupcho in the above-captioned

 6 action.

 7           2.     I make this declaration in support of Plaintiff Banks-Kupcho’s Motion to Appoint

 8 Interim Co-Lead Counsel. I have personal knowledge of the facts set forth herein, and if called as

 9 a witness, would testify competently thereto.

10           3.     I support the appointment of my co-counsel Shana E. Scarlett as Interim Lead

11 Counsel.

12           4.     I am committed to prosecuting this case. If the Court appoints me as co-lead

13 counsel in this litigation, I will devote myself personally to the case’s leadership. My partner

14 Brian Clark will also continue to personally dedicate his time to leadership of this case as he has

15 since its inception along with me.

16           5.     Attached as Exhibit A is a copy of Lockridge Grindal Nauen P.L.L.P resume.

17           6.     Attached as Exhibit B is a copy of Rebecca A. Peterson’s attorney profile.

18           7.     LGN’s background, my own experience, and our client’s significant stake in this

19 litigation give my firm and me a solid foundation by which we can continue to prosecute this

20 case efficiently and expeditiously.

21           8.     LGN is committed to developing and fostering a diverse and an inclusive practice

22 environment to reflect the diversity of the clients we serve and our greater community. The firm

23 works to mentor lawyers and provide meaningful opportunities in their practice, and will furnish

24 the same opportunities to collaborating with attorneys from its co-counsel at Hagens Berman in

25 this case. For the past two consecutive years, LGN has been named a Best Law Firm for Women

26 by Working Mother, a recognition given to only sixty firms in the country. LGN is an active

27 member of Twin Cities Diversity in Practice, a local association of more than sixty law firms and

28   DECL. OF REBECCA A. PETERSON
     Case No. 20-CV-08570-JD
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      Case 3:20-cv-08570-JD Document 440-3 Filed 02/03/23 Page 3 of 9




 1 corporate legal departments, including those of Fortune 500 companies, committed to creating a

 2 vibrant and inclusive legal community. LGN also supports a number of other local affinity bar

 3 organizations, including the Diversity Committee of the Minnesota Chapter of the Federal Bar

 4 Association, the Minnesota American Indian Bar Association, and the Minnesota Asian Pacific

 5 American Bar Association. LGN attorneys also provide pro bono services to a number of

 6 different organizations to serve diverse or historically disadvantaged groups and communities,

 7 and the firm was awarded the Children’s Law Center’s Distinguished Service Award in 2011 for

 8 its work representing foster care children.

 9          I declare under penalty of perjury under the laws of the United States of America that the

10 foregoing is true and correct.

11

12          Executed this 3rd day of February 2023, in Minneapolis, Minnesota.

13
                                                 s/ Rebecca A. Peterson
14                                               Rebecca A. Peterson
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28   DECL. OF REBECCA A. PETERSON
     Case No. 20-CV-08570-JD
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Case 3:20-cv-08570-JD Document 440-3 Filed 02/03/23 Page 4 of 9




          EXHIBIT A
            Case 3:20-cv-08570-JD Document 440-3 Filed 02/03/23 Page 5 of 9




                                            Exhibit A_


                    LOCKRIDGE GRINDAL NAUEN P.L.L.P.

           Founded in 1978, Lockridge Grindal Nauen P.L.L.P. (“LGN”) has extensive experience
in antitrust, securities, environmental, employment, health care, commercial, intellectual
property, and telecommunications law. Our clients include agri-businesses, business enterprises,
banks, local governments,          trade and industry associations, real        estate developers,
telecommunications providers, health care professionals, and insurers.
           LGN is one of the preeminent class action law firms in the country, has vast experience
representing banks, financial institutions, shareholders, and other institutional investors in
complex litigation, and has extensive experience litigating cases in Minnesota and across the
country. LGN attorneys are assisted by more than 20 paralegals and government relations
specialists, and an extensive support staff. The firm has its main office in Minneapolis, along
with attorneys located across the country.

                                  ANTITRUST EXPERIENCE

           LGN practices extensively in antitrust litigation. The firm has litigated major cases and
class actions involving price fixing, industry cartels, predatory pricing, price discrimination, and
other antitrust and trade regulation issues in courts nationwide. LGN attorneys have been
recognized by courts, peer review publications, and other professional organizations as leading
antitrust lawyers. Four partners heading LGN’s antitrust team were named as Super Lawyers in
2022 and another three attorneys were named Rising Stars by Super Lawyers in 2022.
           For 40 years, the firm has prosecuted antitrust cases on behalf of large and small
businesses injured by price-fixing and other violations of the antitrust laws. In the last ten years
alone, LGN and its co-counsel have recovered more than $2 billion for their clients and class



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           Case 3:20-cv-08570-JD Document 440-3 Filed 02/03/23 Page 6 of 9




members in antitrust cases involving national and global price-fixing schemes. LGN has served
as Lead or Co-Lead Counsel in many antitrust class actions, including, for example:

              In re Pork Antitrust Litigation, No. 18-cv-01776-JRT-HB (D. Minn.);
              In re Broiler Chicken Antitrust Litigation, No. 1:16-cv-08737 (N.D. Ill.);
              In re Turkey Antitrust Litigation, No. 1:19-cv-08318 (N.D. Ill.);
              In re Beef Purchasers Antitrust Litigation (aka, Peterson v. JBS USA Food Co.
                Holdings et al.), No. 0:19-cv-01129 (D. Minn.);
              In re Peanut Farmers Antitrust Litigation, No. 2:19-cv-00463 (E.D. Va.);
              In re Surescripts Antitrust Litigation, No. 1:19-cv-06627 (N.D. Ill.);
              In re Freight Forwarders Antitrust Litigation (Precision Associates, Inc. v.
                Panalpina World Transport (Holding) Ltd., et al.), No. 1:08-cv-42-JG-VVP
                (E.D.N.Y.);
              In re Wholesale Grocery Products Antitrust Litigation, No. 0:09-md-2090 (D.
                Minn.);
              In re Air Cargo Shipping Services Antitrust Litigation, No. 1:06-md-1775-JG-
                VVP (E.D.N.Y.);
              In re Potash Antitrust Litigation (II), No. 1:08-cv-06910 (N.D. Ill.);
              In re Flat Glass Antitrust Litigation (II), No. 2:08-mc-180-DWA (W.D. Pa.);
              In re Urethane Antitrust Litigation, No. 2:04-md-01616-JWL-DJW (D. Kan.);
              In re Pressure Sensitive Labelstock Antitrust Litigation, No. 3:03-md-01556-TIV
                (M.D. Pa.); and
              In re MSG Antitrust Litigation, No. 00-md-01328-PAM (D. Minn.).

The firm has also played key roles in dozens of other antitrust class actions across the nation for
more than 40 years.




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Case 3:20-cv-08570-JD Document 440-3 Filed 02/03/23 Page 7 of 9




          EXHIBIT B
                         Case 3:20-cv-08570-JD Document 440-3 Filed 02/03/23 Page 8 of 9




                                                                   Rebecca A. Peterson
                                                                   Rebecca A. Peterson is a partner in the firm’s class action group with a
                                                                   focus on consumer protection, product liability, pet food regulation cases
                                                                   and accompanying regulatory issues. Ms. Peterson has been part of
                                                                   successful prosecution of actions on behalf of consumers in both state and
                                                                   federal courts. Ms. Peterson has been appointed lead counsel and,
                                                                   alongside a group of attorneys, was recognized as Attorney of the Year by
                                                                   Minnesota Lawyer for her work on behalf of U.S. farmers. Prior to joining
                                                                   the firm, Ms. Peterson practiced in California and had extensive
                                                                   experience in complex class actions, appeals and public relations. Ms.
Rebecca A. Peterson
                                                                   Peterson carries that experience over to her practice today in fighting to
Partner
                                                                   protect the rights of consumers in both federal and state courts, as well as
612-339-6900
                                                                   before regulatory and quasi-regulatory bodies.
rapeterson@locklaw.com


Practices
                                                                   Ms. Peterson has extensively litigated consumer cases and conducted and
                                                                   defended dozens of depositions, including expert depositions. In these
Securities Litigation
                                                                   cases, she vetted and worked extensively with experts, argued class
Products Liability & Consumer Fraud Litigation
                                                                   certification motions and dispositive motions, and handled cross-
Education                                                          examination in Daubert hearings. Ms. Peterson recently won class
                                                                   certification in a pet food case alleging heavy metals in the dog food. See
USD School of Law, 2005
                                                                   Zeiger et al. v. WellPet, LLC et al.
St. Olaf College, 1998

Bar Admissions                                                     Ms. Peterson is admitted to the state bar of the States of Minnesota and
Minnesota                                                          California. She received her law degree from the University of San Diego
California                                                         School of Law and her B.A. from St. Olaf College. She is an Advisory
                                                                   Board Member of the Page Education Foundation.
Court Admissions
U.S. District Court, Northern District of California                 Representative Cases
U.S. District Court, District of Minnesota                                   Gold, et al. v. Lumber Liquidators, Inc., No. 14-cv-05373 (N.D. Cal.)
                                                                             Helmer, et al. v. The Goodyear Tire & Rubber Co., No. 1:12-cv-00685-
U.S. District Court, District of North Dakota
                                                                              RBJ-MEH (D. Colo.)
U.S. District Court, Central District of California                          Hiddlestone, et al. v. The Honest Co. Inc., No. 2:16-cv-07054 JAK
U.S. District Court, Eastern District of California                           (AGRx) (C.D. Cal.)
U.S. District Court, Southern District of California                         Johnson v. Bobcat Co., No. 0:15-cv-02097-JRT-HB (D. Minn.)
U.S. District Court, District of Colorado                                    Michael, et al. v. The Honest Company Inc., No. 2:15-cv-07059-JAK-
U.S. District Court, Central District of                                      AGR (C.D. Cal.)
Illinois                                                                     In re Nat’l Hockey League Players’ Concussion Injury Litig., MDL No.
                                                                              14-2551 (SRN/JSM) (D. Minn.)
U.S. District Court, Eastern District of
                                                                             Orshan, et al. v. Apple, Inc. No. 5:14-cv-05659-EJD (N.D. Cal.)
Wisconsin


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                         Case 3:20-cv-08570-JD Document 440-3 Filed 02/03/23 Page 9 of 9



                                                                             In re Rust-Oleum Restore Mktg., Sales Practices & Prods. Liab. Litig.,
U.S. Court of Appeals, Second Circuit                                         No. 1:15-cv-1364 (N.D. Ill.)
U.S. Court of Appeals, Sixth Circuit                                         In re Syngenta AG MIR162 Corn Litig., No. 14-md-2591-JWL-JPO (D.
                                                                              Kan.)
U.S. Court of Appeals, Seventh Circuit
                                                                             In re Syngenta Litig. (Minn. Producers), No. 27-cv-15-3785 (Henn. Co.
U.S. Court of Appeals, Eighth Circuit                                         Dist. Ct., Minn.)
U.S. Court of Appeals, Ninth Circuit                                         Zarinebaf et al. v. Champion Petfoods USA, Inc. et al., No. 1:18-cv-
U.S. Court of Appeals, Tenth Circuit                                          06951 (N.D. Ill.)
                                                                             In re Big Heart Pet Brands Litig., No. 4:18-cv-00861-JSW (N.D. Cal.)
                                                                              [Co-Lead Counsel]
                                                                             Grossman v. Schell & Kampeter, Inc. et al., No. 2:18-cv-02344-JAM-
Professional Recognition                                                      AC (E.D. Cal.)
                                                                             Zeiger et al. v. WellPet LLC et al., No. 3:17-cv-04056-WHO (N.D. Cal.)
• Attorney of the Year (Syngenta litigation team)                            In re Toll Roads Litigation No. 8:16-cv-00262-ODW-ADS (C.D. Cal)
  by Minnesota Lawyer (2017)                                                 Klein et al. v. Facebook, Inc. 5:20-cv-08570-LHK (N.D. Cal)
• The National Trial Lawyers Top 100 (2021)                                  Classick v. Schell & Kampeter, Inc. No. 2:18-cv-02344-JAM-AC (E.D.
• Best Lawyers in Minnesota 2022 by Minnesota                                 Cal)
  Monthly (2022)                                                             Stuve et al. v. The Kraft Heinze Company, No. 21-cv-1845 [N.D. Ill.]
                                                                             In re Plum Baby Food Litigation, 4:21-cv-00913-YGR (N.D. Cal.) [Co-
• Minnesota Super Lawyers - Class Action and
                                                                              Lead Counsel]
  Mass Torts Attorney (2022)
                                                                             In re Crops Input Antitrust Litigation, 4:21-md-02993 (E.D. MO) [Co-
• The National Trial Lawyers Top 100 (2022)                                   Lead Counsel]
                                                                             In re Nurture Baby Food Litigation, 1:21-cv-01217-MKV (S.D. NY) [Co-
                                                                              Lead Counsel]
                                                                             Willoughby et al. v. Abbott Laboratories, 1:22-cv-01322 [N.D. Ill.]




                                                                   Civic Associations
                                                                             Advisory Board Member, Page Education Foundation




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